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November 29, 2017
HAND DELIVERY

Honorable Andrea R. Wood
Evert McKinley Dirksen Courthouse
219 South Dearborn Street
Room 1956
Chicago, IL 60604

Re:       Bill A. Busbice Jr., et al v. Adrian Vuckovich, et al.
          Case No.: 1:17-cv-01640

Dear Judge Wood:

My firm represents the Plaintiffs in the above-referenced matter. At the status hearing held on
September 27, 2017, the Court indicated that, if possible, it would make itself available to
address any issues of attorney-client privilege that might arise in the depositions of Defendants.
The Court further indicated that the parties should provide the dates of the depositions so that
the Court is aware of when they are to take place. Pursuant to this discussion with the Court,
Plaintiffs provide the following information on the deposition of the Defendants.

      •   The 30(b)(6) deposition of Defendant Collins, Bargione & Vuckovich is scheduled for
          November 30, 2017 at 9:30 a.m.

      •   The Deposition of Defendant Adrian Vuckovich is scheduled for December 1, 2017, at
          9:30 a.m.

Sincerely,

TROUTMAN SANDERS LLP




Robert E. Browne, Jr.
REB:stw

cc:       Counsel of Record
